             Case 3:14-cr-03180-DMS                       Document 85                Filed 03/19/15           PageID.307     Page 1 of 2
                                                                                                                          FILED
      ~AO 2456 (CASD) (Rev 4/14)    Judgment in a Criminal Case
                Sheet 1                                                                                                    MAR 1 9 2015
                                                                                                                 CLERK, U.S. DISTRICT COURT
                                               UNITED STATES DISTRICT Cc ~¥R~}}RICTOFCAL~E~~~
                                                   SOUTHERN DISTRICT OF CALIFORNIA
                     UNITED STATES OF AMERICA                                        JUDGMENT IN A CRlMINAL CASE
                                         v.                                          (For Offenses Committed On or After November I, 1987)

                    MARIO BELTRAN-VERDUGO (2)                                        Case Number: 14cr3180-DMS

                                                                                     Casey J Donovan CJA
                                                                                     Defendant's Attorney
      REGISTRATION NO. 12846298

     D
     THE DEFENDANT:
      181pleaded guilty to count(s) _1_o_f_th_e_In_r._o_rm_a_t_io_n_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __

      D was found guilty on count(s)_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
          after a plea of not gUilty.
          Accordingly, the defendant is adjudged guilty of such count(s), which involve the following offense(s):
                                                                                                                                             Count
     Title & Section                          Nature of Offense                                                                             Number(s)
8 USC 1324(a)(l )(A)(ii)              TRANSPORTATION OF ILLEGAL ALIIENS FOR FINANCIAL GAIN                                                  I
  and (v)(II)                             AND AIDING AND ABETTING




        The defendant is sentenced as provided in pages 2 through                2          of this judgment. The sentence is imposed pursuant
 to the Sentencing Reform Act of 1984.
  D   The defendant has been found not gUilty on count(s)

  'XI
  ~
      Count(s)         . .                                  -------------------------------
                                                                   IV!
               _r_e_m_al_n_m-=g~_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ is ~   are
                                                                           D dismissed on the motion of the United States.
  Igj Assessment: $100.00


  Igj Fine waived                                   D Forfeiture pursuant to order filed                                       , included herein.
       IT IS ORDERED that the defendant shall notify the United States Attorney for this district within 30 days of any change of name, residence,
 or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If ordered to pay restitution, the
 defendant shall notify the court and United States Attorney of any material change in the defendant's economic circumstances.
                                                                               March 19,2015
                                                                              "''' oflmpo'''."fS<..,.re ~


                                                                                            1')4"b-'~
                                                                              HON. DANA M. SABRAW
                                                                              UNITED STATES DISTRICT JUDGE



                                                                                                                                                14cr3180-DMS
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          •.                   £ . 1.                 - Ed            £            s.        .. .42 L                      L.           j   2
                   Case 3:14-cr-03180-DMS                      Document 85              Filed 03/19/15          PageID.308        Page 2 of 2
          AO 2458 (CASDl (Rev. 4114)    Judgment in a Criminal Case
                      Sheet 2 - Imprisonment

                                                                                                                  Judgment - Page _ _2_ of         2
           DEFENDANT: MARIO BELTRAN-VERDUGO (2)
           CASE NUMBER: 14cr3180-DMS
                                                                          IMPRISONMENT
                   The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a tenn of
                   TWENTY-SEVEN (27) MONTHS.




               o   Sentence imposed pursuant to Title 8 USC Section 1326(b).
               o The court makes the following recommendations to the Bureau of Prisons:


               o   The defendant is remanded to the custody of the United States Marshal.

               o The defendant shall surrender to the United States Marshal for this district:
                     Oat                                       Da.m.       Dp.m.        on
                         as notified by the United States Marshal.

               o   The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
                    o    before
                                  ---------------------------------------------------------------------------
                    o    as notified by the United States Marshal.
                    o    as notified by the Probation or Pretrial Services Office.



                                                                             RETURN

           I have executed this judgment as follows:

                   Defendant delivered on                                                               to

           at _ _ _ _ _ _ _ _ _ _ _ _ _ , with a certified copy of this judgment.


                                                                                                                UNITED STAlES MARSHAL


                                                                                   By _ _ _ _ _ _~~~~~~~~~~------
                                                                                                             DEPUTY UNITED STATES MARSHAL




                                                                                                                                            14cr3180-DMS
